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l!_\'! THE UNITED STATES DlS‘l‘RICT COURT FEB 11
FOR THE SOUTHERN DISTRICT OF TEXAS 2013
FORPUS CHRISTI DlVISlON
Davkl J_ Bradley, Clerk of Cou,~

TEDDY NORRIS DAVIS/ ET AL./

,` ) c//`)

PLAINTIFFS 5
§
Vs. § cleL AcTIoN No. 2:12-cV-00166
§
§
RICK THALER, ET AL., §
DEFENDANTS. §
§
PLAINT:FFS

MOTION TO AMEND COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT;

Comes Now, Teddy Norris Davis and Robbie Dow Goodman, Pro Se Plaintiffs‘
in the above and numbered cause and files this, Plaintiffs"Motion to amend
complaint pursuant to rules l§(a) and 19(a) Fed.R.Civ.P. and in support thereof
the following is shown:

l. STATEMENT OF THE CASE

On the let day of May, 2012 Plaintiff Davis originally filed his Civil
Rights Complaint, pursuant to 42 U-S.C. § 1983, against the , TDCJ Director
Rick '].‘halerl TDCJ Director of chaplaincy, Billy Pierce, Native American
contract chaplain ,Fd Hernandez; Chaplain of the McConnell Unit, Santos Jones;
and Deputy Director for Prison and Jail Operations, William Stephens (D.E.ll,
at pg. 3 Of 5). Each to have deprived Plaintiff Davis of: (l) Traditional Pipe
Ceremonies, due to lack of Native American Chaplains; (2) not being allowed to
wear his medicine bag at all times; and (3) not allowing him to grow his hair
long or in a kouplock. (D.E.l, at pg. 6-9). Thus violating Plantiffs right to
exercise his (religious) Traditional beliefs under the First Amendment to the
United States Constitution/ and the Religious Land Use and Institutionalized

Persons Act (RLUIPA), 42 U.S.C. § ZOOGcc., seeging Injunctive and Declaratory

(l)

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relief by having TDCJ : (l) Hire more Native American Chaplains or allow Plaintiff
to have his ceremonies with security personel; (2) allow Plaintiff to grow his
hair long or have a kouplock as an alternative, and (3) That the Defendants pay
for all court cost. 1

An evidentiary hearing was conducted by the magistrate Judge, B. Janice
Ellington, on the let day of June, 2012 by telephone conference. 2 Where,
inter-alia, Plaintiff Robbie Dow Goodman was included in this suit, and Jones

(D.E.l¢.AT PG.l,#l, #3). Whereas by the reccomendation of the Magistrate Judge/
Plaintiff Davis Included, Clint Morris, Madeline Ortiz, and Shawna Mitchelll each
in their individual and official capacities; with the understanding that Plantiff
would be able to amend any defects that may cause injury to his claim by the
way each person was included to his complaint, in addition to monetary damages
to his relief. 3 (D.E. 16, at pg. 2,#4).

ll PLAINTIFF DAVIS AND GOODMANS"REASON TO AMEND

Plaintiff Davis and Goodman Pro-Se file their Motion to Amend for the
following reasons:

Plaintiff Davis and Goodman wish to amend their complaint showing that the
July 2®12 New Policy(for the Native Americans) is unconstitutional and violates
the Relgious Land Use and lnstitutionalized Persons Act(RLUIPA) by prohibiting
them the right ot practice their traditional beliefs and practices as afforded
by the First Amendment of the United States Constitution. The Defendants named
in this suit are denying the Plaintiffs their god given right to pray with the

most sacred object given to them by the great spirit.

 

l) Plaintiff Davis inadvertently omitted, as part of his Injunctive and declaratcry relief
the rkjm honest hislmrhcinelxr]at alltjnes.

2) Plaintiff Robbie Dow Goodran was not part of the evidentiary hearing.

3)PLItif&sd3ft nme Ureaox§s U)theewk%mtkny}r£rnr;tnmrrrqis &Jtn§/cminot
pont U)anygxrtdxloftje narrd Bx dds szndje.hxre.

(2)

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Frison officials nay not interfere with priscrer‘s exercise of First Pnerchert rights unless the
interference is reasonably related to a legitimate penal interest. Prison
officials must afford prisoners opportunities to exercise their religious
freedom.(see CRUZ VS. BETO ,405 U.S. 319,322 & n12 (l972)(per curiam).

also see: o LoNE Vs. ESTATE oF sHABAzZL482 U.s. 342, 349-53(1987), also

 

CUTTER VS. WILKINSON, 544 U.S. 709, 722~23(2005) (Holding that Religious Land

 

Use and INstitutionalized Persons Act prohibits government from placing
substantial burden on prisoner's religious exercise except to further compelling
governmental interests such as order and safety.)Remembering that a prisoner
claiming a violation of the right to religious freedom must establish that his

or her beliefs are sincere and religious in nature.ln Plaintiffs suit it has
already been established that his beliefs are very sincere and that he has been
an active member of his assigned unit Native American Circle since it started

in May of 1999. Plaintiff can further more show the courts that he was an

active member of his religious faith from 1986 up till his incarceration.

Texas Department of Criminal Justice is aware that the Pipe ceremony is a
recognized Native American belief and Practice and has been for thousands of
years. This is why the Federal Prisons allow their Native American Inmates to

do them daily where as the Texas State prisons wish to do away withil;permanately.
The federal Prisons know it is a First Amendment violation of their constitutional
rights to deny the Native Americans the right to do Pipe Ceremonies. All Federal
Prisons throughout the United States allow Native Americans their Pipe Ceremonies
Daily. The Question is why don‘t the Texas Prison system allow it as well, and
why are they banning traditional Pipe Ceremonies where the inmate cannot smoke
and release their own prayers to the great spirit as afforded in TDCJ for the
past 16 years in their prison setting. Why are they all of a sudden yelling

that it is a security and health issue now when in fact they knew that allowing

Native American inmates to share the pipe 16 years ago that the same issues were

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there and acknowledged in their May 1996 TDCJ Native American policy(09.01)

in which there were two(2) pages. On page one under “Management of the Ceremony“

 

and now go to page two(2) #2 in which states the following:

ln addition, only inmates who own an approved pipe and have tobacco,sage,
sweetgrass or cedar to smoke, may do so. said items must be obtained through

the approved process(see policy number 11.11,Pastoria1 care: Religious Devotional
Items, Acguirement of). Inmates may not share pipes or smoke/ tobacco products
because of health related concerns. Now lets move donw to #8. Each Native American
inmate will be allowed to conduct the prayer pipe ceremony once a week for one(l)
hour. No tobacca products, etc. are to be left in the area by the inmate(s)

upon the close of the time allotted. An inmate will not be penalized for an
insignificant amount of tobacca that may fall to the ground. #9 States that at
the end of the allotted time, the chaplain will account for all pipes, etc., and
return them to the Unit Chaplaincy Department office and stored in a place approved
by the Unit Warden. Now if they allowed it in this policy then why can‘t we still
have them under the same guidlines. TDCJ knew of the Health concerns in this
policy and there were no security problems storing them from one ceremony to

the next so what is the problem now ? In the New July 2012 TDCJ Native American
policy which is the most active policy in affect now it states on page one(l)

of the 09.01 two pages under lV The Pipe service shall be conducted by a
qualified Native American chaplain or volunteer. Now see (C) Only the Native
American chaplain/volunteer is authorized to smoke the pipe used for the PIPE
services. No where in the intire new policy does it state the reason why policy
was changed where the Native American inmates cannot smoke the sacred ceremonial
Pipe anymore. Plaintiffs found out through a previous Native American lawsuit

why the policy was changed. ln the William Chance civil suit he wanted his own
ceremonial pipe because he had hepatitis (C) and did not want to smoke the

sacred community pipe and disrespect the others in the circle who smoke the

pipe as well. Not that they would get the virus from the sacred prayer pipe,

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from him smoking it with them. Now this brings me to the Joleene Yellowguill

vs. Scott et,al. No.H-95-1080 (S.D. Tex. May 27, 1997) in that case, Judge Marcia
Crone (a Magistrate) enjoined prison officials from prohibiting an inmate from
participating in the sacred pipe ceremony. Although Yellowguill involved only
one inmate, the settlement agreement in the case served as the basis for all

of the policies regarding the practice of the Native American faith. See, eg.,
TDCJ chaplaincy Manual policy Numbers 09.01-09.04 from 1998 up to 2009 before
TDCJ implemented their July 2012 Policy in which deletes the intire 09.03 in
which was the policy on the pipe ceremonies. The resulting settlement agreement
reguired TDCJ to provide sacred Pipe ceremonies twice per month with personal
prayer pipes for the Congregants, and smudging ceremonies as well. This TDCJ
Native American Policy was the 1998(09.01-09.04) and it has been altered little
by little over the years to what it is now, in which is not a traditional pipe
ceremony. All TDCJ policies for the past 16 years show that the Native Americans
were allowed to smoke the sacred pipe during their ceremonies up to the New
Policy which is the July 2012 policy. lt has come down to where TDCJ will not
condone traditional pipe ceremonies anymore due to health issuse in which they
knew about in May 1996, and the will not allow inmates to have their own prayer
pipe to do thier prayers with as we were allowed to do in the May 1996 policy.
TDCJ is not allowing any least restrictive means to allow the Native Americans
to do their prayer pipe ceremonies traditionally as afforded to us by the

First Amendment of the United Sates Constitution. TDCJ allows someone else to
smoke the prayer pipe in our ceremonies in which they cannot release our prayers
we put into the pipe ,but can only release their prayers for us on her behalf.
This is not the traditional practices of the Native American people inside the
prison walls nor outside the prison walls. Now if TDCJ is knowingly admitting

to the court that they knew of the health concerns in 1996 that they are arguiing
as their reason why we cannot smoke the pipe now then they willingly and

knowingly put my health and safety and life in danger by exsposing me to these

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diseases for the past 16 years in which is another violation of my Constitutional
rights. lf this is the case then Plaintiffs might wish to amend their complaint
again showing that TDCJ has put my life in danger of severe infectious diseases
for the past 16 yearS. Not only has TDCJ been exposing the Plaintiffs of these
diseases for the past 16 years but they have exposed the intire Native American
community within all of TDCJ in which are over 4400 now. This could turn into

a class action lawsuit or The Native American community could file their own
lawsuit and make it a class action behind this new information. Be it as it may
Plaintiffs would like to have their traditional pipe ceremonies given back to

the Native American community throughout all TDCJ iwth their own personal prayer
pipes to keep us from exposure to these diseases. TDCJ can't possibly be admitting
to the District Courts that they have intentionally exposed all Native American
inmates to these infectious diseases for the past 16 years.

111 PRAYER

Wherefore, Premises Considered, Plaintiffs' respectfully pray that this
Honorable Judge of said Court GRANT Plaintiffs "Motion To Amend Complaint“

in its entirety pursuant to rules l§(a) and l9(a) of the Fed.R.Civ.P.

Respectfully Submitted,

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TEDDY NORRIS DAVIS # 80768&

RDBBIE DOW GOODMAN # 758386

DECLARATION

l Davis and Goodman hereby declare under penalty of purjury that the
foregoing is true and correct. Executed at Beeville, Texas on the 5th day o

February 2013.
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TEDDY NORRIS DAVIS #7807688

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(6) ROBBIE DOW GOODMAN # 758386

 

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CERTlFlCATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing Plaintiffs'
Motion To Amend has been served by placing the same in the U.S. mail First Class
on the 5th day of February 2013 to the following:

CELAMINE CUNNlFF
ASST. ATT. GEN.
LAW. ENFOF. DEF. D1V.

P.O. BOX 12548
AUST1N/ TEXAS 78711

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TEDDY NORRIS DAVIS # 807688

ROBBIE DOW GOODMAN # 758386

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